                                                                                                  Case 8:16-cv-01741-JLS-KES Document 19 Filed 04/28/17 Page 1 of 3 Page ID #:393



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                                                                                                                                         UNITED STATES DISTRICT COURT
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                                                                                                                                        CENTRAL DISTRICT OF CALIFORNIA
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                                                                                                                                                 SANTA ANA DIVISION
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                                                                                                        PETER CORNEJO, and ARMANDO                            Case No. 16-cv-01741-JLS (KES)
                                                                                                   20   ACOSTA, individually and on behalf of
                                                                                                        all others similarly situated,                        STIPULATED REQUEST FOR AN
                                                                                                   21                                                         ORDER OF DISMISSAL WITH
                                                                                                                                   Plaintiffs,                PREJUDICE AS TO PLAINTIFFS’
                                                                                                   22                                                         INDIVIDUAL CLAIMS AND WITHOUT
                                                                                                                  v.                                          PREJUDICE AS TO THE CLASS
                                                                                                   23                                                         ACTION ALLEGATIONS
                                                                                                        THE PROCTER & GAMBLE
                                                                                                   24   COMPANY, an Ohio Corporation,                         Judge: Josephine L. Staton
                                                                                                   25                              Defendant.
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                                                                                                                                                                          CASE NO. 16-CV-01741-JLS (KES)
                                                                                                        010-8452-7802/1/AMERICAS
                                                                                                                                            STIPULATED REQUEST FOR DISMISSAL
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                                                                                                    1             Plaintiffs Peter Cornejo and Armando Acosta (“Plaintiffs”) and Defendant
                                                                                                    2   The Procter & Gamble Co., through their undersigned counsel, stipulate to a
                                                                                                    3   request that the Court enter an order dismissing with prejudice Plaintiffs’ individual
                                                                                                    4   claims and dismiss without prejudice the class action allegations. Each party to
                                                                                                    5   bear its/his own attorneys’ fees and costs.
                                                                                                    6             Pursuant to the Court’s April 17, 2017 Order (ECF Dkt. No. 18) and The
                                                                                                    7   Court’s Procedure No. 19, the factors identified in Diaz v. Trust Territory of the
                                                                                                    8   Pacific Islands, 876 F.2d 1401, 1408 (9th Cir. 1989), favor dismissal and do not
                                                                                                    9   require that notice of this dismissal be provided to the putative class because there
                                                                                                   10   is no potential prejudice to the absent putative class members from dismissal of this
                                                                                                   11   action.
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                                                                                                   12             First and foremost, the class claims here are dismissed without prejudice and
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                                                                                                   13   there exists another nationwide class action, encompassing California, pending in
                                                                                                   14   the Southern District of New York asserting substantively identical legal and
                                                                                                   15   factual allegations. See ECF Dkt. No. 15-1 (P&G’s Motion to Transfer); ECF Dkt.
                                                                                                   16   No. 15-2 Ex. 2 (Colbert v. Procter & Gamble Co., Case No. 1:16-CV-02636
                                                                                                   17   (S.D.N.Y. April 8, 2016)).
                                                                                                   18             Second, there is little if any reliance on the part of absent class members on
                                                                                                   19   the filing of this action as they are unlikely to know about it as the parties are not
                                                                                                   20   aware of any publicity about this action or other circumstances that could
                                                                                                   21   potentially make absent class members aware of it. Diaz, 876 F.2d at 1408. Third,
                                                                                                   22   there is adequate time for absent class members to file other actions because the
                                                                                                   23   statute of limitations was tolled by the filing of this action and, as noted, there is
                                                                                                   24   currently pending another nationwide class action, encompassing California, that
                                                                                                   25   was filed several months before this action and which asserts substantially identical
                                                                                                   26   legal and factual allegations. Id. Fourth, there has been no settlement or
                                                                                                   27   concession of class interests made by the class representatives or class counsel in
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                                                                                                                                                                      CASE NO. 16-CV-01741-JLS (KES)
                                                                                                        010-8452-7802/1/AMERICAS
                                                                                                                                    STIPULATED REQUEST FOR DISMISSAL
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                                                                                                    1   order to further their own interests. Id. In short, voluntary dismissal of this action
                                                                                                    2   does not subject absent class members to prejudice or any unfair impacts because
                                                                                                    3   the settlement of individual claims with prejudice and class claims without
                                                                                                    4   prejudice does not prevent absent class members from pursuing their own claims.
                                                                                                    5   Dated: April 28, 2017                       Respectfully submitted,
                                                                                                    6                                               BLUMENTHAL, NORDREHAUG &
                                                                                                                                                    BHOWMIK
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                                                                                                                                                    By:      /s/ Kyle Nordrehaug
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                                                                                                        Dated: April 28, 2017                       Respectfully submitted,
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                                                                                                                                                    THE PROCTER & GAMBLE CO.
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                                                                                                        010-8452-7802/1/AMERICAS
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